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                                Slip Op. 22-98

        UNITED STATES COURT OF INTERNATIONAL TRADE


 HYUNDAI STEEL COMPANY,

       Plaintiff,

 and

 SEAH STEEL CORPORATION,

       Consolidated Plaintiff and
       Plaintiff-Intervenor,
                                         Before: Jennifer Choe-Groves, Judge
 v.
                                         Consol. Court No. 18-00154
 UNITED STATES,

       Defendant,

 and

 WHEATLAND TUBE COMPANY,

       Defendant-Intervenor.


                                    OPINION

[Sustaining the U.S. Department of Commerce’s fourth remand results of the
2015–2016 administrative review of the antidumping duty order on circular welded
non-alloy steel pipe from the Republic of Korea.]

                                                       Dated: August 24, 2022

J. David Park, Henry D. Almond, Daniel R. Wilson, and Kang Woo Lee, Arnold &
Porter Kaye Scholer LLP, of Washington, D.C., for Plaintiff Hyundai Steel
Company.
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Jeffrey M. Winton, Amrietha Nellan, Jooyoun Jeong, and Michael J. Chapman,
Winton & Chapman PLLC, of Washington, D.C., for Consolidated Plaintiff and
Plaintiff-Intervenor SeAH Steel Corporation.

Joshua E. Kurland, Trial Attorney, Commercial Litigation Branch, Civil Division,
U.S. Department of Justice, of Washington, D.C., for Defendant United States.
With him on the brief were Brian M. Boynton, Acting Assistant Attorney General,
Jeanne E. Davidson, Director, and Patricia M. McCarthy, Assistant Director. Of
counsel on the brief was Elio Gonzalez, Senior Attorney, Office of the Chief
Counsel for Trade Enforcement & Compliance, U.S. Department of Commerce.

Roger B. Schagrin, Elizabeth J. Drake, and Michelle R. Avrutin, Schagrin
Associates, of Washington, D.C., for Defendant-Intervenor Wheatland Tube
Company.

      Choe-Groves, Judge: Plaintiff Hyundai Steel Company (“Hyundai Steel”)

and Consolidated Plaintiff and Plaintiff-Intervenor SeAH Steel Corporation

(“SeAH”) (collectively, “Plaintiffs”) challenge the final determination in the 2015–

2016 administrative review of the antidumping duty order covering circular welded

non-alloy steel pipe (“CWP”) from the Republic of Korea (“Korea”). Circular

Welded Non-Alloy Steel Pipe from the Republic of Korea (“Final Results”), 83

Fed. Reg. 27,541 (Dep’t of Commerce June 13, 2018) (final results of antidumping

duty administrative review; 2015–2016); see also Issues and Decision Mem. for

the Final Results of Antidumping Duty Admin. Review of Circular Welded Non-

Alloy Steel Pipe from the Republic of Korea; 2015–2016 (“Final IDM”), PR 314.1



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 Citations to the administrative record reflect the public record (“PR”) document
numbers filed in this case, ECF No. 50.
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      Before the Court are the Final Results of Redetermination Pursuant to Court

Remand (“Fourth Remand Results”), ECF No. 116-1, ordered in Hyundai Steel Co.

v. United States (“Hyundai Steel IV”), 46 CIT __, __, Slip Op. 22-67 at 25–26

(June 15, 2022). No party filed comments contesting Commerce’s Fourth Remand

Results. For the reasons discussed below, the Court sustains the Fourth Remand

Results.

                                 BACKGROUND

      The Court presumes familiarity with the facts and procedural history of this

case and recites the facts relevant to the Court’s review of the Fourth Remand

Results. See Hyundai Steel IV, 46 CIT at __, Slip Op. 22-67 at 5–8; see also

Hyundai Steel Co. v. United States (“Hyundai Steel I”), 43 CIT __, __, 415 F.

Supp. 3d 1293, 1295–1301 (2019); Hyundai Steel Co. v. United States (“Hyundai

Steel II”), 44 CIT __, __, 483 F. Supp. 3d 1273, 1275–76 (2020); Hyundai Steel

Co. v. United States (“Hyundai Steel III”), 45 CIT __, __, 531 F. Supp. 3d 1344,

1347–48 (2021).

      In the Final Results, Commerce determined that a particular market situation

in Korea distorted the cost of production of CWP. Final IDM at 3. Commerce

also determined that it could quantify the amount of the distortion, and it made an

upward adjustment to the cost of production of CWP based on the subsidy rate of

hot-rolled steel coil. Id. (citing Countervailing Duty Investigation of Certain Hot-
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Rolled Steel Flat Products from the Republic of Korea, 81 Fed. Reg. 53,439 (Dep’t

of Commerce Aug. 12, 2016) (final affirmative determination), as amended,

Certain Hot-Rolled Steel Flat Products from Brazil and the Republic of Korea, 81

Fed. Reg. 67,960 (Dep’t of Commerce Oct. 3, 2016) (amended final affirmative

countervailing duty determinations and countervailing duty orders)). Commerce

then conducted a sales-below-cost test and disregarded certain sales made at prices

below the cost of production, as adjusted. See Decision Mem. for the Prelim.

Results of Antidumping Duty Admin. Review: Circular Welded Non-Alloy Steel

Pipe from the Republic of Korea: 2015–2016 (“Prelim. DM”) at 19–20, PR 275;

Final IDM at 3 (noting that Commerce used the same calculation methodology for

the respondents not selected for individual examination for the Final Results as

explained in the Prelim. DM). Commerce calculated normal value from the

remaining above-cost home market sales for mandatory respondents Hyundai Steel

and Husteel. Prelim. DM at 20; Final IDM at 3.

      In Hyundai Steel I, 43 CIT at __, 415 F. Supp. 3d at 1301, the Court

concluded that Commerce’s particular market situation determination was

unsupported by substantial evidence. In the Final Results of Redetermination

Pursuant to Remand (“Remand Results”), ECF No. 73-1, subsequent to Hyundai

Steel I, Commerce conducted a new review of the record and again determined that

a particular market situation distorted the cost of hot-rolled steel coil in the Korean
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market. Remand Results at 4. Commerce again made an upward adjustment to the

cost of hot-rolled steel coil, performed the sales-below-cost test, and calculated

normal value from the remaining above-cost home market sales. See id.

      In Hyundai Steel II, 44 CIT at __, 483 F. Supp. 3d at 1279, 1281, the Court

remanded for Commerce to explain the statutory authority to conduct a cost-based

particular market situation analysis when normal value is based on home market

sales and to adjust the cost of production for purposes of the sales-below-cost test

of 19 U.S.C. § 1677b(b), specifically within the context of relevant caselaw from

the U.S. Court of International Trade. Commerce’s second remand results

explained its view that Section 504 of the Trade Preferences Extension Act of 2015

(“TPEA”), Pub. L. No. 114-27, § 504, 129 Stat. 362, 385, authorizes it to make

such determinations and to adjust the cost of production for the sales-below-cost

test when calculating normal value based on home market sales. Final Results of

Redetermination Pursuant Court Remand (“Second Remand Results”) at 3–4, ECF

No. 85-1.

      In Hyundai Steel III, 45 CIT at __, 531 F. Supp. 3d at 1353, the Court

concluded that Commerce’s cost-based particular market situation determination

and subsequent adjustment were not in accordance with the law. The Court held

that when normal value is based on home market sales, 19 U.S.C. § 1677b does not

permit Commerce to make a particular market situation adjustment to the costs of
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production for purposes of the sales-below-cost test of 19 U.S.C. § 1677b(b). Id.

Under protest, Commerce eliminated the particular market situation adjustment in

its recalculation of the weighted-average dumping margin of Hyundai Steel. See

Final Results of Redetermination Pursuant to Court Remand (“Third Remand

Results”) at 6, ECF No. 94-1; see also 19 C.F.R. § 351.405. Commerce

recalculated the dumping margin rate for SeAH by recalculating the rate for the

second mandatory respondent, Husteel, using a particular market situation

adjustment for Husteel and then relying on a simple average of the recalculated

rates for Hyundai Steel and Husteel. Third Remand Results at 6–7.

      In Hyundai Steel IV, 46 CIT at __, Slip Op. 22-67 at 25–26, the Court

sustained Commerce’s calculation of Hyundai Steel’s dumping margin rate without

a particular market situation adjustment, but remanded Commerce’s calculation of

SeAH’s dumping margin based on a particular market situation determination that

was unsupported by substantial evidence.

      In the remand redetermination under protest, Commerce recalculated the

dumping margin for SeAH with no adjustment for a particular market situation in

Korea. Fourth Remand Results at 7. Commerce recalculated the average of

Husteel’s recalculated rate and mandatory respondent Hyundai Steel’s rate, which

was applied as a new rate to SeAH. Id. at 7–8. SeAH’s rate of 19.28 percent from

the Final Results was changed to a new rate of 9.77 percent in the Fourth Remand
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Results. Id. at 8.

               JURISDICTION AND STANDARD OF REVIEW

      The Court has jurisdiction pursuant to Section 516A(a)(2)(B)(i) of the Tariff

Act of 1930, as amended, 19 U.S.C. § 1516a(a)(2)(B)(i), and 28 U.S.C. § 1581(c).

The Court will hold unlawful any determination found to be unsupported by

substantial evidence on the record or otherwise not in accordance with the law. 19

U.S.C. § 1516a(b)(1)(B)(i). The Court also reviews determinations made on

remand for compliance with the Court’s remand order. Ad Hoc Shrimp Trade

Action Comm. v. United States, 38 CIT __, __, 992 F. Supp. 2d 1285, 1290

(2014), aff’d, 802 F.3d 1339 (Fed. Cir. 2015).

                                  DISCUSSION

      SeAH filed a Motion to Amend Scheduling Order (“Motion to Amend”),

ECF No. 117, requesting that the Court issue an expedited amended scheduling

order. SeAH explained that because “there were no objections to the draft remand

redetermination and there were no changes between the draft and final version of

the redetermination on fourth remand, SeAH believes that no further briefing

before the Court is necessary.” Motion to Amend at 2. Defendant United States

and Defendant-Intervenor Wheatland Tube Company consented to the Motion to

Amend, and Hyundai Steel did not oppose. Id. The Court granted the Motion to

Amend. Am. Scheduling Order, ECF No. 118. No parties filed comments with the
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Court on Commerce’s Fourth Remand Results.

      In the Fourth Remand Results, Commerce stated that it recalculated the

weighted-average dumping margin of Husteel without an adjustment to account for

a particular market situation in Korea, for the purpose of recalculating SeAH’s

rate. Fourth Remand Results at 7. Commerce then calculated the average of

Husteel’s recalculated rate and the other mandatory respondent Hyundai Steel’s

rate and applied the new rate to SeAH as a non-examined company. Id. at 7–8.

Commerce changed the weighted-average dumping margin for SeAH from the

prior Final Results rate of 19.28 percent to the recalculated Fourth Remand Results

rate of 9.77 percent. Id. at 8.

      Commerce’s recalculation of SeAH’s dumping margin without a particular

market situation adjustment is consistent with the Court’s prior opinions and orders

in Hyundai Steel I, Hyundai Steel II, Hyundai Steel III, and Hyundai Steel IV.

                                  CONCLUSION
      The Court sustains the Fourth Remand Results.

      Judgment will be entered accordingly.



                                                      /s/ Jennifer Choe-Groves
                                                     Jennifer Choe-Groves, Judge
Dated:       August 24, 2022
          New York, New York
